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                      EXHIBIT A
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                                                                       Docket #4038 Date Filed: 03/05/2024
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The following constitutes the ruling of the court and has the force and effect therein described.




Signed March 4, 2024
______________________________________________________________________




                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION

     IN RE:                            §
                                       §                                  Chapter 11
     HIGHLAND CAPITAL MANAGEMENT, L.P. §
                                       §                                  Case No. 19-34054-sgj-11
         Reorganized Debtor            §

         MEMORANDUM OPINION AND ORDER GRANTING HIGHLAND CAPITAL
              MANAGEMENT, L.P.’S MOTION FOR (A) BAD FAITH FINDING
     AND (B) ATTORNEYS’ FEES AGAINST NEXPOINT REAL ESTATE PARTNERS LLC
      (F/K/A HCRE PARTNERS, LLC) IN CONNECTION WITH PROOF OF CLAIM # 146

                                             I.       INTRODUCTION

             Before this court is a sanctions motion 1 filed by Highland Capital Management, L.P.

     (“Highland,” the “Debtor,” or the “Reorganized Debtor”). 2 The motion seeks sanctions against


     1
      Highland Capital Management, L.P.’s Motion for (A) Bad Faith Finding and (B) Attorneys’ Fees against NexPoint
     Real Estate Partners LLC (f/k/a HCRE Partners, LLC) in connection with Proof of Claim 146 (“Sanctions Motion”).
     Dkt. No. 3851.
     2
      Highland is a reorganized debtor under the confirmed Fifth Amended Plan of Reorganization of Highland Capital
     Management, L.P. (as Modified) (the “Plan”). Dkt. No. 1808. See Order (I) Confirming the Fifth Amended Plan of
     Reorganization of Highland Capital Management, L.P. (as Modified) and (II) Granting Related Relief (“Confirmation
     Order”). Dkt. No. 1943.



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NexPoint Real Estate Partners, LLC, f/k/a HCRE Partners, LLC (“NexPoint/HCRE”) for its filing,

prosecution, and then abrupt attempt to withdraw a meritless proof of claim (after almost three

years of protracted litigation).

             NexPoint/HCRE filed the subject proof of claim, #146 on the claims register (“Proof of

Claim”), on April 8, 2020. 3 The Proof of Claim was signed electronically by James D. Dondero

(“Dondero”) and was prepared and filed by a law firm that was representing him personally at that

time. 4 The Proof of Claim was not in a liquidated amount and was somewhat ambiguous. It stated

in an Exhibit A thereto, that NexPoint/HCRE, which was a limited partner, along with Highland,

in a limited liability company called SE Multifamily Holdings, LLC (“SE Multifamily”)—an

entity which owned valuable real estate—“may be entitled to distributions out of SE Multifamily,

but such distributions have not been made because of the actions or inactions of the Debtor” and

added that Highland’s equity interest “may be the property of Claimant. Accordingly, Claimant

may have a claim against the Debtor.” NexPoint/HCRE stated that it would update the Proof of

Claim to provide the exact amount of it “in the next ninety days” but never did.

          Highland objected to the Proof of Claim. Thereafter, NexPoint/HCRE (while still not

providing any liquidated amount of its Proof of Claim) refined its position therein to argue that the

organizational documents relating to SE Multifamily improperly allocated the ownership

percentages of the equity members, due to mutual mistake, lack of consideration, and/or failure of

consideration. NexPoint/HCRE essentially sought to reform, rescind, and/or modify the SE

Multifamily limited liability company agreement (and possibly other documentation) to give

Highland less ownership (or no ownership interest) in SE Multifamily and, accordingly,



3
    Claim No. 146.
4
    Bonds Ellis Eppich Schafer Jones LLP.

                                                  2
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NexPoint/HCRE would have a larger ownership interest in SE Multifamily. Next, there occurred

years of litigation between the parties, including: (a) a skirmish over Highland’s motion to

disqualify NexPoint/HCRE’s newest counsel (i.e., a law firm that had represented both Highland

and NexPoint/HCRE in transactions involving SE Multifamily), which was ultimately granted,

and (b) an eleventh-hour attempt by NexPoint/HCRE to withdraw its Proof of Claim (by its newest

law firm—this one #3 regarding the Proof of Claim), on the eve of depositions of its principals,

including Dondero, and just prior to a trial on the merits. Highland objected to the withdrawal.

The court held a hearing on that, as required by Bankruptcy Rule 3006. The court declined to

allow withdrawal of the Proof of Claim, when the parties could not stipulate to an agreed form of

order (i.e., NexPoint/HCRE was unwilling to withdraw the Proof of Claim with prejudice to

asserting its claims again in any future litigation in any forum).

        Painfully, after all this, an evidentiary hearing was held on the merits of the Proof of Claim

(“Trial”) on November 1, 2022. During the Trial, Highland made an oral motion for a bad faith

finding and assessment of attorneys’ fees against NexPoint/HCRE in connection with its filing and

prosecution of the Proof of Claim (“Oral Sanctions Motion”), which this court took under

advisement, along with the consideration of the Proof of Claim as a whole.

        On April 28, 2023, this court entered a 39-page memorandum opinion and order 5 sustaining

Highland’s objection to NexPoint/HCRE’s Proof of Claim, but denying Highland’s Oral Sanctions

Motion, without prejudice, as procedurally deficient in that it was made orally and for the first

time during the Trial. Thus, the Oral Sanctions Motion failed to provide NexPoint/HCRE

sufficient notice and an opportunity to respond and, therefore, did not satisfy concerns of due

process.

5
 See Memorandum Opinion and Order Sustaining Debtor’s Objection to, and Disallowing, Proof of Claim Number
146 [Dkt. No. 906] (“Proof of Claim Disallowance Order”). Dkt. No. 3767.

                                                    3
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         On June 16, 2023, Highland filed the instant Sanctions Motion, setting forth the legal and

factual bases for the relief sought. The Sanctions Motion specifically seeks a finding of bad faith

against NexPoint/HCRE and reimbursement of Highland’s attorneys’ fees and costs, as a sanction

for NexPoint/HCRE’s filing and prosecution of the Proof of Claim.

         After due notice to NexPoint/HCRE, and a hearing held January 24, 2024 on the Sanctions

Motion (“Sanctions Motion Hearing”), and after consideration of the pleadings filed, evidence in

the record, and arguments of counsel, the court finds, for the reasons detailed in the findings of

fact and conclusions of law below, 6 that NexPoint/HCRE acted in bad faith and willfully abused

the judicial process in filing, prosecuting, and then pursuing an eleventh-hour withdrawal of its

Proof of Claim. Accordingly, NexPoint/HCRE will be required, as a sanction, to reimburse

Highland’s attorneys’ fees and costs (totaling $825,940.55) incurred in connection with its

objection to the Proof of Claim.

                                            II.      JURISDICTION

         This court has jurisdiction and authority to determine and enter a final order in this matter,

pursuant to 28 U.S.C. §§ 157(b)(1) and (b)(2)(A), (B), and (O) and 1334. 7

     III.      BACKGROUND, PROCEDURAL HISTORY, AND FINDINGS OF FACT

    A. Incorporation Herein of Proof of Claim Disallowance Order

         As noted above, this court, on April 28, 2023, issued its 39-page Proof of Claim

Disallowance Order, sustaining Highland’s objection to NexPoint/HCRE’s Proof of Claim


6
  To the extent that any of the findings of fact should be construed as a conclusion of law, it shall be construed as
such. To the extent that any of the conclusions of law should be construed as a finding of fact, it shall be construed
as such.
7
  The Fifth Circuit recently confirmed the jurisdiction and authority of bankruptcy courts to issue sanctions orders in
connection with bankruptcy cases and proceedings over which they exercise jurisdiction, because they are in the nature
of civil contempt orders—which are considered “part of the underlying case” – “because the bankruptcy court had
jurisdiction over the [ ] bankruptcy case, it had jurisdiction to enter the sanctions order, too.” Kreit v. Quinn (In re
Cleveland Imaging and Surgical Hospital, L.L.C.), 26 F.4th 285, 294 (5th Cir. 2022) (cleaned up).

                                                           4
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following the Trial on same. The Proof of Claim Disallowance Order sets forth extensive

procedural history, findings of fact, and conclusions of law pertaining to NexPoint/HCRE’s filing

and prosecution of its Proof of Claim, which Highland alleges in the instant Sanctions Motion was

conducted in bad faith. NexPoint/HCRE did not appeal the Proof of Claim Disallowance Order.

Thus, it is a final and non-appealable order. 8 The court hereby incorporates by reference the Proof

of Claim Disallowance Order (and all of the findings and conclusions therein), as if set forth

verbatim herein. 9

      B. Highland Files Sanctions Motion

           On June 16, 2023, Highland filed the instant Sanctions Motion. It was supported with a

Declaration of John A. Morris in support of the Sanctions Motion (“Morris Declaration”) 10 and

431 pages of attached exhibits as set forth in the following table:

     Exhibit A        NexPoint/HCRE’s Proof of Claim 11

     Exhibit B        Highland’s Objection to NexPoint/HCRE’s Proof of Claim 12

     Exhibit C        NexPoint/HCRE’s Response to Objection to Claim 13


8
 The Proof of Claim Disallowance Order is one of the few bankruptcy court orders issued in this bankruptcy case that
was not appealed by Dondero or a Dondero-controlled entity. Although the court has not counted the exact number
of appeals filed by Dondero and/or Dondero-controlled entities in this bankruptcy case and related proceedings, this
court takes judicial notice of information contained in a vexatious litigant motion filed by Highland in the district
court (before Judge Brantley Starr), reflecting that Dondero and his controlled entities have “filed over 35 total
appeals.” See Highland Capital Management, L.P.’s Reply to Objections to Motion to Deem the Dondero Entities
Vexatious Litigants and for Related Relief, 12, at ¶ 24, filed on February 9, 2024. Dkt. No. 189 (NDTX Case No. 3:21-
cv-00881-X).
9
 The Proof of Claim Disallowance Order was attached as Exhibit D to the Declaration of John A. Morris, Dkt. No.
3852, which was filed by Highland in connection with, and in support of, the relief requested in the Sanctions Motion.
10
     Dkt. No. 3852.
11
     Claim No. 146, filed April 8, 2020.
12
   Debtor’s First Omnibus Objection to Certain (A) Duplicate Claims; (B) Overstated Claims; (C) Late-Filed Claims;
(D) Satisfied Claims; (E) No-Liability Claims; and (F) Insufficient-Documentation Claims (“Objection to Claim”),
filed July 30, 2020. Dkt. No. 906.
13
   NexPoint Real Estate Partners LLC’s Response to Debtor's First Omnibus Objection to Certain (A) Duplicate
Claims; (B) Overstated Claims; (C) Late-Filed Claims; (D) Satisfied Claims; (E) No-Liability Claims; and
(F) Insufficient-Documentation Claims (“Response to Objection to Claim”), filed October 19, 2020. Dkt. No. 1212.

                                                          5
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     Exhibit D      Proof of Claim Disallowance Order

     Exhibit E      Transcript of November 1, 2022 Trial (on NexPoint/HCRE’s Proof of Claim)

                    Attorneys’ Fees of Pachulski Stang Ziehl & Jones LLP (“PSZJ”) for the period of
     Exhibit F      August 1, 2021 through December 31, 2022 incurred in connection with the
                    litigation on the NexPoint/HCRE Proof of Claim

                    Invoices for court reporting services provided in connection with depositions
     Exhibit G
                    taken and defended during the course of the Proof of Claim litigation

                    Invoice for services rendered by David Agler, who provided specialized tax
     Exhibit H
                    advice concerning SE Multifamily and other matters related to the Proof of Claim

                    Summary of Fees and Expenses Incurred by Highland in Connection with
     Exhibit I
                    NexPoint/HCRE’s Proof of Claim

           The Sanctions Motion (unlike the Oral Sanctions Motion made during the Trial) provided

NexPoint/HCRE with due and appropriate notice of the legal and factual bases for Highland’s

request for a bad faith finding and reimbursement of attorneys’ fees and costs incurred by it in

litigating the Proof of Claim. As stated in the Sanctions Motion, the legal basis for Highland’s

request for reimbursement of its attorneys’ fees as a sanction for NexPoint/HCRE’s bad faith filing

and prosecution of its Proof of Claim is the bankruptcy court’s “inherent authority under section

105 of the Bankruptcy Code to issue sanctions after making a finding of bad faith.” 14 Highland

referred to specific documentary and testimonial evidence adduced during the Trial that it alleges

supports a finding that NexPoint/HCRE filed and prosecuted its Proof of Claim in bad faith, and

attached invoices evidencing its attorneys’ fees and costs incurred as a direct result of this alleged

bad faith.




14
     See Sanctions Motion, 10, ¶25.

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           Before NexPoint/HCRE filed its response to the Sanctions Motion, the matter was stayed

on August 2, 2023, pending court-ordered global mediation. 15 The mediation ultimately proved

to be unsuccessful. 16 Thereafter, NexPoint/HCRE filed its Response to Debtor’s Motion for (A)

Bad Faith Finding and (B) Attorneys’ Fees (“Response”) 17 on December 22, 2023.

NexPoint/HCRE denies that it filed and prosecuted its Proof of Claim in bad faith and argues it

should not be sanctioned at all. It further argues that, even if the filing and prosecution of the Proof

of Claim are found to have been in bad faith, the amount of the fees incurred by Highland in

connection with the Proof of Claim litigation is “per se excessive for a single proof of claim

objection” 18 and “extraordinarily high given that this dispute could have been brought to a swift

close many months ago”—if only NexPoint/HCRE had been allowed to withdraw its Proof of

Claim in September of 2022. 19 Highland’s has sought reimbursement of more than $800,000 in

attorneys’ fees and more than $16,000 in expenses, identified in Exhibits F through H (and

summarized in Exhibit I) of the Morris Declaration as having been incurred by Highland in

connection with its litigation of the Proof of Claim.

           Highland filed its Reply in Further Support of Its Motion for (A) Bad Faith Finding and

(B) Attorneys’ Fees against NexPoint Real Estate Partners LLC (f/k/a HCRE Partners, LLC) in




15
  See Order Granting in Part and Denying in Part Motion to Stay and to Compel Mediation. Dkt. No. 3897. This
was not the first time the bankruptcy court has ordered global mediation in the Highland case.
16
     See Joint Notice of Mediation Report filed on November 7, 2023. Dkt. No. 3995.
17
     Dkt. No. 3995.
18
     Response, 10, ¶34.
19
   Response, 13, ¶45. NexPoint/HCRE argues that, because it had sought to withdraw its Proof of Claim, any fees
incurred by Highland after the filing of NexPoint/HCRE’s motion to withdraw cannot be attributable to
NexPoint/HCRE’s alleged bad faith filing and prosecution of its Proof of Claim; rather, such fees were incurred by
Highland as a result of Highland’s decision to object to NexPoint/HCRE’s withdrawal of its Proof of Claim and to
proceed with the litigation, including taking depositions, and proceeding to “trial” on the merits instead of “taking a
win” with NexPoint/HCRE’s withdrawal of its Proof of Claim. See Response, 2.

                                                          7
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Connection with Proof of Claim 146 20 on January 19, 2024, and filed an Amended Reply in Further

Support of Its Motion for (A) Bad Faith Finding and (B) Attorneys’ Fees against NexPoint Real

Estate Partners LLC (f/k/a HCRE Partners, LLC) in Connection with Proof of Claim 146

(“Reply”) 21 on January 23, 2024. Highland argues that “[n]othing in the Response warrants the

denial of the [Sanctions] Motion or its requested award of attorneys’ fees” and that “the record

makes clear” that NexPoint/HCRE and its principals “clearly and convincingly acted in bad faith

by (a) knowingly filing and prosecuting a baseless Proof of Claim, . . . ([b]) seeking an unfair

litigation advantage by trying to withdraw its Proof of Claim after taking Highland’s depositions

but before subjecting its own witnesses to questioning, and ([c]) trying at all times to preserve for

another day the claims it asserted (i.e., to “reform, rescind and/or modify the agreement”).” 22

           The court held a hearing on the Sanctions Motion (“Hearing”) on January 24, 2024, during

which NexPoint/HCRE was given a full opportunity to respond to Highland’s allegations of bad

faith and request for sanctions.

                                   IV.     CONCLUSIONS OF LAW

           A. The Sanctions Motion Satisfies Due Process Considerations

           In invoking its inherent power to sanction bad faith conduct or a willful abuse of the judicial

process, “[a] court must exercise caution . . . , and it must comply with the mandates of due process,

both in determining that the requisite bad faith exists and in assessing fees.” In re Correra, 589

B.R. 76, 125 (Bankr. N.D. Tex. 2018). As noted above, the court entered its Proof of Claim

Disallowance Order on April 28, 2023, in which it sustained Highland’s objection to, and

disallowed, the Proof of Claim but denied, without prejudice, Highland’s Oral Sanctions Motion


20
     Dkt. No. 4018.
21
     Dkt. No. 4023.
22
     Reply, 2, ¶2.

                                                      8
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as being procedurally defective because, having been raised for the first time during Trial and not

having been made in writing, it had not given NexPoint/HCRE adequate notice and an opportunity

to respond to the specific allegations of bad faith being made against it. The court pointed out that

it did not address or make any determination regarding the substance of Highland’s requests in the

Oral Sanctions Motion for a bad faith finding and sanctions against NexPoint/HCRE, subject to

Highland’s right seek a bad faith finding and sanctions against NexPoint/HCRE upon and after

giving it proper notice and an opportunity to respond:

       Here, where the Reorganized Debtor’s generic oral request for a finding of bad faith
       and for “an award costs for a bad faith filing” did not articulate the legal basis for
       such an award and was raised for the first time during the Trial, HCRE was not
       given sufficient notice and an opportunity to respond, and, therefore, the court will
       deny, without prejudice, [Highland’s] request for reimbursement of its costs
       incurred in connection with its objection to HCRE’s Proof of Claim.

Proof of Claim Disallowance Order, 38-39 (quoting In re Emanuel, 422 B.R. 453, 464 (Bankr.

S.D.N.Y. 2010) (“[A] person facing possible sanctions is entitled to due process. . . . At a

minimum, the respondent is entitled to notice of the authority for the sanctions, notice of the

specific conduct or omission that forms the basis of possible sanctions and the opportunity to

respond.”); In re Magari, 2010 WL 817327 at **2-3 (Bankr. N.D. Tex. Mar. 4, 2010) (“By

requesting the sanctions award, the Trustee has raised due process concerns that can only be

satisfied by providing to the affected party sufficient notice and opportunity to respond.”)).

       The court concludes that the instant Sanctions Motion and Hearing have provided

NexPoint/HCRE with the due process that was lacking in connection with the Oral Sanctions

Motion. NexPoint/HCRE was given adequate notice of the legal authority invoked for sanctions

(the bankruptcy court’s inherent powers under section 105 of the Bankruptcy Code) and

NexPoint/HCRE’s specific conduct (the filing and prosecution of its Proof of Claim) that Highland




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alleges to have been in bad faith, and NexPoint/HCRE was given adequate opportunity to respond

through briefing and at the Hearing on the Sanctions Motion.

       With due process concerns having been now addressed and satisfied, the court is able to

address the substantive questions raised in the instant Sanctions Motion of (1) whether

NexPoint/HCRE did, indeed, act in bad faith in the filing and prosecution of its Proof of Claim

and (2) if so, whether an award of reimbursement of Highland’s attorneys’ fees and costs incurred

in connection with its litigation of the Proof of Claim is an appropriate sanction for such bad faith.

       B. NexPoint/HCRE Filed and Prosecuted its Proof of Claim in Bad Faith and Willfully
          Abused the Judicial Process

       A bankruptcy court may sanction a litigant for bad faith filing or litigation if the court

makes specific findings, based on clear and convincing evidence, of bad faith or willful abuse of

the judicial process. See Cleveland Imaging, 26 F.4th at 292 (A bankruptcy court may only

sanction a party using its inherent authority if “(1) the bankruptcy court finds that the party acted

in bad faith or willfully abused the judicial process and (2) its finding is supported by clear and

convincing evidence.”) (citing Cadle Co. v. Moore (In re Moore), 739 F.3d 724, 729-30 (5th Cir.

2014)). The bankruptcy court’s power to sanction bad faith or willful abuse of the judicial process

derives from its inherent authority under 11 U.S.C. § 105(a) to issue civil contempt orders. Id. at

294, 294 n.14 (quoting the “relevant part” of Bankruptcy Code section 105(a), which provides that

bankruptcy courts may “sua sponte, tak[e] any action . . . necessary or appropriate to enforce or

implement court orders or rules, or to prevent an abuse of process.”) (cleaned up).

       Having reviewed the record and the evidence adduced at Trial and NexPoint/HCRE’s

response to the Sanctions Motion (both in its Response and at the hearing on the Sanctions

Motion), the court finds and concludes that there is clear and convincing evidence here that




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NexPoint/HCRE filed and prosecuted is Proof of Claim in bad faith and that it willfully abused the

judicial process.

          1. Dondero’s Execution and Authorization of the Filing of the Proof of Claim Without
             First Having Read the Document or Conducting Any Due Diligence Was in Bad Faith
             and a Willful Abuse of the Judicial Process

          As noted in the Proof of Claim Disallowance Order, NexPoint/HCRE filed its Proof of

Claim in this Highland bankruptcy case on April 8, 2020, several months after the post-petition

“nasty breakup” between Highland and its co-founder and president and chief executive officer,

Dondero. NexPoint/HCRE described the basis of its claim in Exhibit A attached to its Proof of

Claim: 23

                                           Exhibit A

                  HCRE Partner, LLC (“Claimant”) is a limited partner with the Debtor in an
          entity called SE Multifamily Holdings, LLC (“SE Multifamily”). Claimant may be
          entitled to distributions out of SE Multifamily, but such distributions have not been
          made because of the actions or inactions of the Debtor. Additionally, Claimant
          contends that all or a portion of Debtor’s equity, ownership, economic rights,
          equitable or beneficial interests in SE Multifamily does [not] belong to the Debtor
          or may be the property of Claimant. Accordingly, Claimant may have a claim
          against the Debtor. Claimant has requested information from the Debtor to
          ascertain the exact amount of its claim. This process is on-going. Additionally,
          this process has been delayed due to the outbreak of the Coronavirus. Claimant is
          continuing to work to ascertain the exact amount of its claim and will update its
          claim in the next ninety days.

          NexPoint/HCRE was one of the many non-debtor Dondero-controlled entities affiliated

with Highland. Dondero was the president and sole manager of NexPoint/HCRE, and an individual

named Matt McGraner (“McGraner”) was NexPoint/HCRE’s vice president and secretary.

NexPoint/HCRE had no employees of its own but instead relied on Highland’s employees (and

employees of other entities controlled by Dondero) to conduct business on its behalf. Dondero

executed the Proof of Claim as the “person who is completing and signing this claim,” checking


23
     Claim No. 146.

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the box that indicates he is “the creditor’s attorney or authorized agent” and acknowledging that

“I have examined the information in this Proof of Claim and have reasonable belief that the

information is true and correct” and that “I declare under penalty of perjury that the foregoing is

true and correct.” 24 The evidence overwhelmingly supports a finding that Dondero signed and

authorized the filing of the Proof of Claim (that the court ultimately determined was lacking in any

factual or legal support) without having even read it and without conducting any due diligence on,

or investigation into, whether the statements made in the Proof of Claim were truthful and accurate,

which supports a finding that Dondero’s signing and filing of the Proof of Claim on behalf of

NexPoint/HCRE was done in bad faith and constituted a willful abuse of the judicial process.

           At Trial, Dondero testified that he had authorized his electronic signature to be affixed to

the document and to be filed on behalf of NexPoint/HCRE and admitted that he had not reviewed

the document before doing so. 25 He further testified that he could not recall “personally [doing]

any due diligence of any kind to make sure that Exhibit A was truthful and accurate before [he]

authorized it to be filed,” 26 and, more specifically, that he did not, prior to authorizing his law firm

(Bonds Ellis) to affix his electronic signature on, and to file, the Proof of Claim, review or provide

comments to the Proof of Claim or its Exhibit A, review the SE Multifamily Amended LLC

Agreement or any documents, 27 “check with any member of the real estate group to see whether

or not they believed [the Proof of Claim] was truthful and accurate before [he] authorized Bonds

Ellis to file it,” or do “anything . . . to make sure that this proof of claim was truthful and accurate

before [he] authorized [his] electronic signature to be affixed and to have it filed on behalf of


24
     Proof of Claim, 3.
25
  Transcript of the November 1, 2022 Trial on Debtor’s Objection to HCRE’s Proof of Claim (“Trial Tr.”)[Dkt. No.
3616] 55:2-22.
26
     Trial Tr. 56:20-23.
27
     Trial Tr. 55:10-22, 56:15-57:6.

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HCRE.” 28 Moreover, he testified that he did not know whose idea it was to file the Proof of

Claim, 29 who at NexPoint/HCRE worked with, or provided information to, Bonds Ellis to enable

Bonds Ellis to prepare the Proof of Claim, what information was given to Bonds Ellis that enabled

them to formulate the Proof of Claim, or whether “Bonds Ellis ever communicated with anybody

in the real estate group regarding [the Proof of Claim].” 30

           Dondero has argued that he had a good faith basis to sign and file the Proof of Claim on

behalf of NexPoint/HCRE because “he had a host of responsibilities across a sprawling and

sophisticated corporate structure and relied on numerous individuals within that structure to help

manage the day-to-day operations of Highland and its subsidiaries and managed funds” 31 and that

he “ha[d] to rely on systems and processes[,]” because “[he] can’t be directly involved in

everything.” 32 Dondero further testified that “[he] sign[s] a lot of high-risk documents and [has]

to rely on the process and the people and internally and externally as part of the process to sign it

without direct validation from or verification from me, and this [Proof of Claim] is another one of

those items.” 33

           Dondero’s “I’m-a-very-busy-person/too-busy-to-be-bothered-to-investigate” excuse is not

a defense, as a matter of law, to his bad faith and willful abuse of the judicial process in connection

with the filing of the Proof of Claim. Nor is Dondero’s claimed reliance on systems and processes

in connection with the execution and filing of this Proof of Claim, as a matter of fact, supported

by the evidence. The court notes that the Proof of Claim is not a complex, lengthy legal or


28
     Trial Tr. 57:25-58:16.
29
     Trial Tr. 57:7-9.
30
     Trial Tr. 56:1-14.
31
     Response, 7, ¶16.
32
     Trial Tr. 57:25-58:7.
33
     Trial Tr. 57:25-59:2.

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corporate document; Exhibit A to the Proof of Claim, which set forth the basis for the claim, is

only one paragraph long, yet Dondero did not even bother to read it before signing under penalty

of perjury that the information contained in the Proof of Claim, including Exhibit A, was truthful

and accurate. And, Dondero’s own testimony contradicts his assertion that he relied on “systems

and processes” and on other people within the “sprawling and sophisticated corporate structure”

and his outside counsel to ensure the accuracy of the Proof of Claim. He had no reasonable or

justifiable basis to rely on anyone or any “process” that was allegedly in place in connection with

his signing of “high risk” documents, because he asked no questions, conducted no due diligence,

and made no effort, whatsoever, to verify that the information that he was swearing was accurate

under penalty of perjury was, in fact, truthful.

       The court finds and concludes that the foregoing admissions by NexPoint/HCRE, through

Dondero, provide clear and convincing evidence that NexPoint/HCRE filed its Proof of Claim in

bad faith and willfully abused the judicial process.

       2. NexPoint/HCRE’s Litigation Strategy and Actions in the Prosecution of Its Proof of
          Claim Are Further Evidence of Its Bad Faith and Willful Abuse of the Judicial Process

       Moreover, NexPoint/HCRE’s litigation strategy and actions taken in the course of

prosecuting its Proof of Claim over the next two and a half years, after filing it, provide further

support for a finding that NexPoint/HCRE engaged in bad faith and willfully abused the judicial

process.




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           As noted in the Proof of Claim Disallowance Order, six months after Dondero signed and

filed the Proof of Claim in April 2020, and in response to Highland’s objection to its Proof of

Claim, 34 NexPoint/HCRE fleshed-out the legal and factual bases for its claim: 35

                   After reviewing what documentation is available to [NexPoint/HCRE] with
           the Debtor, [NexPoint/HCRE] believes the organizational documents relating to SE
           Multifamily Holdings, LLC (the “SE Multifamily Agreement”) improperly
           allocates the ownership percentages of the members thereto due to mutual mistake,
           lack of consideration, and/or failure of consideration. As such, [NexPoint/HCRE]
           has a claim to reform, rescind and/or modify the agreement.

                   However, [NexPoint/HCRE] requires additional discovery, including, but
           not limited to, email communications and testimony, to determine what happened
           in connection with the memorialization of the parties’ agreement and improper
           distribution provisions, evaluate the amount of its claim against the Debtor, and
           protect its interests under the agreement.

 The Response was filed by a new law firm—Wick Phillips Gould & Martin, LLP (“Wick

Phillips”) – not the law firm of Bonds Ellis, which had handled the filing of the Proof of Claim.

In the course of discovery, Highland became aware that Wick Phillips had jointly represented

NexPoint/HCRE and Highland in connection with at least some of the underlying transactions that

were the subject of the Proof of Claim, and, on April 14, 2021, more than a year after

NexPoint/HCRE filed its Proof of Claim, Highland moved to disqualify Wick Phillips. 36 Notably,

Highland’s Plan had been confirmed on February 22, 2021, over the objections of Dondero and

his related entities (including NexPoint/HCRE). 37 The effective date (“Effective Date”) of the

Plan occurred on August 11, 2021, and Highland became the Reorganized Debtor under the Plan.



34
  On July 30, 2020, Highland filed an objection to the allowance of the Proof of Claim, contending it had no liability
under the Proof of Claim. See Debtor’s First Omnibus Objection to Certain (A) Duplicate Claims; (B) Overstated
Claims; (C) Late-Filed Claims, (D) Satisfied Claims; (E) No-Liability Claims; and (F) Insufficient-Documentation
Claims, Dkt. No. 906.
35
     Response to Objection to Claim, 2-3, ¶¶ 5-6.
36
     Dkt. Nos. 2196-2198. On October 1, 2021, Highland filed a supplemental disqualification motion. Dkt. No. 2893.
37
   NexPoint/HCRE, represented by Wick Phillips, filed its Objection to Debtor’s Fifth Amended Plan of
Reorganization on January 5, 2021. Dkt. No. 1673.

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Pursuant to the Plan, on or after the Effective Date, all or substantially all of the Debtor’s assets

vested in the Reorganized Debtor or the claimant trust (“Claimant Trust”) created under the terms

of the Plan, including Highland’s 46.06% membership interest in SE Multifamily.

           Meanwhile, NexPoint/HCRE vigorously fought the disqualification of Wick Phillips, filing

its opposition to the disqualification motion on May 6, 2021, 38 and initiating a more than six-month

period of expensive discovery and side litigation that culminated, after a lengthy hearing on the

disqualification motion, with the entry by this court on December 10, 2021, of its Order Granting

in Part and Denying in Part Highland’s Supplemental Motion to Disqualify Wick Phillips Gould

& Martin, LLP As Counsel to HCRE Partners, LLC and for Related Relief (“Disqualification

Order”), 39 resolving the disqualification motion by, among other things, disqualifying Wick

Phillips from representing NexPoint/HCRE in the contested matter concerning the Proof of Claim,

but specifically denying Highland’s request that NexPoint/HCRE reimburse it all costs and fees

incurred in making and prosecuting the disqualification motion. 40

           In the instant Sanctions Motion, Highland acknowledged that the court denied Highland’s

specific request for sanctions of reimbursement of Highland’s costs and fees in making the

Disqualification Motion in its December 2021 Disqualification Order. 41 The court notes that the

denial was not “with prejudice” 42 to Highland’s right to bring a sanctions motion in the future in

connection with allegations that NexPoint/HCRE’s filing and prosecution of its Proof of Claim,

including its vigorous defense of the Disqualification Motion. Notably, while Highland includes



38
     Dkt. Nos. 2278 and 2279.
39
     Dkt. No. 3106.
40
     Disqualification Order, 4.
41
     See Sanctions Motion, 4, ¶8.
42
   The Disqualification Order stated, in relevant part, “Highland’s request that HCRE reimburse it all costs and fees
incurred in making and prosecuting the Motion, including reasonable attorneys’ fees, is DENIED.”

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a reference in the instant Sanctions Motion to the lengthy and expensive proceedings on the

Disqualification Motion in its recitation of evidence in the record that supports Highland’s

allegations that NexPoint/HCRE engaged in bad faith conduct in the filing and prosecution of its

Proof of Claim, it did not include them as part of the fees and costs for which Highland is seeking

to be reimbursed by NexPoint/HCRE as a sanction for NexPoint/HCRE’s bad faith filing and

prosecution of its Proof of Claim. 43

          In any event, following the disqualification of Wick Phillips, NexPoint/HCRE hired yet a

third law firm, Hoge & Gameros, LLP, in connection with this matter, and the parties engaged in

a second round of extensive discovery, which included the exchange of written discovery and

document production and the service of various deposition notices and subpoenas. On August 12,

2022, just two business days after NexPoint/HCRE completed the depositions of Highland’s

witnesses, and a day after NexPoint/HCRE made a supplemental production of more than 4,000

pages of documentation, and two business days before the consensually scheduled depositions of

NexPoint/HCRE’s witnesses, Dondero and McGraner, were set to occur, NexPoint/HCRE filed a

motion to withdraw its Proof of Claim (“Motion to Withdraw”). 44 By this point, Highland had

spent hundreds of thousands of dollars objecting to the Proof of Claim.

          Query why might NexPoint/HCRE have done this? Just six months earlier, Dondero’s

family trust, The Dugaboy Investment Trust, had represented to the bankruptcy court that




43
   See Morris Declaration, 3-4, at ¶11 (Referencing the court’s denial in its Disqualification Order of Highland’s
previous request for attorneys’ fees incurred in connection with the Disqualification Motion, Morris stated “[W]e
reviewed the PSZJ Invoices and redacted all entries relating to the Disqualification Motion; thus, for the avoidance of
doubt, Highland does not seek any fee award with respect to any work done in connection with the Disqualification
Motion.”).
44
     See Motion to Withdraw Proof of Claim [Dkt. No. 3442].

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Highland’s 46.06% interest in SE Multifamily was worth $20 million,45 and now, NexPoint/HCRE

(which presumably also spent substantial sums prosecuting its Proof of Claim during the nearly

two and a half years of litigation) appeared willing to walk away from its multi-million dollar

challenge to Highland’s 46.06% interest in SE Multifamily.                            Highland objected to

NexPoint/HCRE’s Motion to Withdraw, and the court held a hearing on September 12, 2022 (as

required by Bankruptcy Rule 3006), following which the court entered an order denying

NexPoint/HCRE’s Motion to Withdraw, for the reasons set forth on the record, 46 and directing the

parties to “confer in good faith to complete the depositions” of Dondero, McGraner, and

NexPoint/HCRE and otherwise comply with the scheduling order that had been entered by the

court on this matter, which included appearing for an evidentiary hearing on November 1, 2022. 47

The court denied NexPoint/HCRE’s Motion to Withdraw, in part, because it was concerned that

the timing of it all–just two business days after completing Highland’s depositions but two

business days before the consensually-scheduled depositions of NexPoint/HCRE’s witnesses were

to take place—reflected gamesmanship on the part of NexPoint/HCRE (i.e., NexPoint/HCRE

prosecuted its Proof of Claim for two and a half years, through and including the taking of

depositions of Highland’s witness, while shielding its own witnesses from testifying). The court

was also concerned by NexPoint/HCRE’s repeated attempts to preserve its claims against

Highland for use against Highland in the future. In fact, the court entered its order denying

NexPoint/HCRE’s Motion to Withdraw only after: (1) NexPoint/HCRE refused to agree, at the



45
   See Motion for Determination of the Value of the Estate and Assets Held by the Claimant Trust [Docket No. 3382].
As pointed out by Highland in its Response, “[t]here is no dispute that HCRE is the manager of SE Multifamily and
therefore—through Mr. Dondero—would be best positioned to opine on the value of Highland’s interest in SE
Multifamily.” Response, 9, at ¶27 n. 4.
46
  The court noted in its order denying HCRE’s Motion to Withdraw that, under the Bankruptcy Rules, a creditor does
not have an absolute right to withdraw a proof of claim.
47
     Dkt. No. 3525.

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September 12 hearing, to language in an order allowing withdrawal of the Proof of Claim that

stated, unequivocally, that NexPoint/HCRE waived the right to relitigate or challenge the issue of

Highland’s 46.06% ownership interest in SE Multifamily, and (2) counsel were thereafter unable,

in the day or two after the hearing, to work out mutually acceptable language in an agreed order

that protected both parties. 48         As noted in its order denying NexPoint/HCRE’s Motion to

Withdraw, the court had expressed concerns, during the hearing on the Motion to Withdraw,

relating to the integrity of the bankruptcy system and claims process if it allowed NexPoint/HCRE

to withdraw its Proof of Claim after two and a half years of litigation, and having caused Highland

to spend hundreds of thousands of dollars litigating the Proof of Claim, while at the same time

allowing NexPoint/HCRE to preserve its challenges to Highland’s ownership interest in SE

Multifamily to be used against Highland in the future. The court did not, at the time, make any

express findings regarding NexPoint/HCRE’s bad faith or abuse of the judicial process, only

because Highland’s mid-hearing Oral Sanctions Motion had not provided NexPoint/HCRE with

adequate notice and an opportunity to respond. 49 With the instant Sanctions Motion, those due

process concerns have been satisfied.

         Having considered the evidence and argument of counsel at both the Trial on

NexPoint/HCRE’s Proof of Claim and the hearing on the Sanctions Motion, and the pleadings

filed in connection with the Sanctions Motion, including NexPoint/HCRE’s written Response, and

based on the record as a whole, the court expressly finds and concludes that NexPoint/HCRE’s


48
    At the end of the September 12 hearing, the court had expressed concerns about gamesmanship, but, at the same
time, assured the parties that it was still open to signing an agreed order regarding withdrawal of the Proof of Claim,
if counsel could work out mutually acceptable language that protected both parties “without the pressure of the Court
hovering over you.” See Transcript of Hearing on Motion to Withdraw, Dkt. No. 3519, 50:14-59:14. Apparently,
counsel were unable to reach an agreement on the terms of an agreed order, and so the court signed the order at docket
number 3525, denying NexPoint/HCRE’s Motion to Withdraw.
49
  As noted below, NexPoint/HCRE persisted to the end in arguing that the disallowance of its Proof of Claim could
not bar NexPoint/HCRE from making future challenges to Highland’s 46.06% membership interest in SE Multifamily.

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litigation strategy and actions in prosecution of its Proof of Claim (including vigorous opposition

to the Disqualification Motion, the timing of the Motion to Withdraw, and its repeated and overt

attempts to preserve the very claims upon which its Proof of Claim was based in connection with

the Motion to Withdraw) demonstrates bad faith and a willful abuse of the judicial process on the

part of NexPoint/HCRE.

           3. NexPoint/HCRE’s Admissions at Trial Are Further Evidence of its Bad Faith Filing
              and Willful Abuse of the Judicial Process

           Following the denial of NexPoint/HCRE’s Motion to Withdraw, the parties complied with

the court’s order to schedule the depositions of Dondero and McGraner at mutually agreeable times

to complete discovery and then appeared at Trial on November 1, 2022. At the conclusion of the

Trial, NexPoint/HCRE doubled-down on its request of the court “to grant the proof of claim and

reallocate the equity [in SE Multifamily] based on the capital contribution[s].” 50 This was despite

admissions by Dondero and McGraner in their Trial testimony that made it clear that

NexPoint/HCRE did not, and never did, have a factual or legal basis for its request. Nevertheless,

NexPoint/HCRE continued to the end to try to limit any order disallowing its Proof of Claim so as

to preserve its right to assert the very claims asserted in its Proof of Claim (for rescission,

reformation and/or modification of the SE Multifamily Amended LLC Agreement to reallocate

the membership percentages) for use in the future. 51

           The Trial testimony of Dondero and McGraner revealed that NexPoint/HCRE had no

factual basis to claim that a mistake was made by any of the parties, much less a mutual mistake


50
     Trial Tr. 179:23-25; 180:8-9.
51
     Trial Tr. 179:21-24 (“They want you to make findings that we can’t raise any of these other issues, rescissions,
stays, et cetera, going forward. That’s not proper relief on a proof of claim.”); 200:8-12 (“If Your Honor’s going to
deny the proof of claim, I would ask that you simply deny the proof of claim. We don’t have an adversary proceeding
here. There wasn’t one started. Mr. Morris considered that and then didn’t follow that path, because all we have here
today is a proof of claim.”).

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of the parties, regarding the allocation of ownership percentages in SE Multifamily in corporate

documentation, 52 and, in fact, “the evidence overwhelmingly point[ed] to the conclusion that both

Mr. Dondero and Mr. McGraner understood that the allocation of 46.06% membership interest to

Highland, and a total capital contribution by Highland of $49,000 in the Amended LLC

Agreement, reflected the intent of the parties prior to, and at the time of, the execution of the

Amended LLC Agreement.” 53 The court specifically noted in the Proof of Claim Disallowance

Order that Dondero admitted that he had not read or reviewed the Amended LLC Agreement or

any drafts of it before he signed it—apparently the Amended LLC Agreement was one of those

important, high-risk documents that Dondero was too busy to read or investigate before signing

(like the Proof of Claim)—but he nevertheless testified that “the capital contributions and

membership allocations contained in Schedule A of the Amended LLC Agreement comported with

his understanding and intent when he signed the Amended LLC Agreement on behalf of HCRE

and Highland.” 54 NexPoint/HCRE was also unable to produce any evidence at Trial to support

its factual allegation that there was a “lack of consideration” or a “failure of consideration” with

respect to the Amended LLC Agreement, such that NexPoint/HCRE would be entitled to a




52
     The court concluded, specifically, that
         HCRE did not produce any evidence, much less clear and convincing evidence, that the parties to the
         Amended LLC Agreement – HCRE, Highland, BH Equities, and Liberty – had come to a specific and
         understanding, prior to the execution of the Amended LLC Agreement in March 2019, that the allocation of
         percentage membership interests in SE Multifamily was different from the percentage allocations contained
         in the Amended LLC Agreement. When asked on cross-examination, Mr. McGraner, HCRE’s officer and
         co-owner who was most involved in the negotiations of the terms of the Amended LLC Agreement, was
         unable to identify any specific mistake made in the drafting of the Amended LLC Agreement. Neither he
         nor NexPoint/HCRE’s other witness, Mr. Dondero, were able to point to a specific meeting of the minds of
         the members of SE Multifamily prior to (or after, for that matter) the execution of the Amended LLC
         Agreement that the parties intended Highland’s allocation of SE Multifamily membership interests to be any
         percentage other than the 46.06% allocation attributed to Highland in the written Amended LLC Agreement.
Proof of Claim Disallowance Order, 30.
53
     Id., 30-31.
54
     Id., 31 n. 119.

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reformation, 55 rescission, 56 or modification of it, to re-allocate the ownership percentages that the

parties agreed to at the time of the execution of it. 57

         In fact, McGraner ultimately admitted in his Trial testimony that the only reason

NexPoint/HCRE had for filing its Proof of Claim, which challenged Highland’s title to its 46.06%

membership interest in SE Multifamily, was, essentially, that NexPoint/HCRE was frustrated

with the consequences of Dondero’s decision in 2019 to seek bankruptcy protection for

Highland (notably, the bankruptcy case was filed just a few months after the Amended LLC

Agreement was executed), which resulted in Dondero losing control over Highland, such that,

as far as NexPoint/HCRE was concerned, its “partner” [in SE Multifamily] was no longer its

“partner.” The court noted in the Proof of Claim Disallowance Order that McGraner

         could not point to any provision of the Amended LLC Agreement that was either
         “wrong” or a “mistake;” rather, he testified that the “mistake” was “when the
         bankruptcy was filed and we can’t amend it” because “[o]ur partners aren’t our
         partners” – “if you have good partners and you’re working with partners that are –

55
   After noting that “neither lack of consideration nor failure of consideration are bases for reformation of a contract
under Delaware law (which is what NexPoint/HCRE is seeking in its Proof of Claim),” the court concluded that
“HCRE is not entitled to reformation of the Amended LLC Agreement to reallocate the members’ membership
interests as requested based on its allegations of lack of consideration and/or failure of consideration.” Proof of Claim
Disallowance Order, 32 n. 120.
56
   The court noted in the Proof of Claim Disallowance Order that NexPoint/HCRE had not actually stated a claim for
rescission of the Amended LLC Agreement with respect to its Proof of Claim, but that, if it had,
         Mr. Dondero’s admission that he did not read the Amended LLC Agreement (or even have the terms
         explained to him by counsel or anyone else) prior to signing it on behalf of HCRE and Highland
         would bar any claim by HCRE for rescission of the Amended LLC Agreement. Moreover, even if
         HCRE’s claim for rescission was not barred by Mr. Dondero’s failure to read the Amended LLC
         Agreement prior to signing it, HCRE did not present any evidence of the other elements of a
         rescission claim: that the parties were mistaken as to a basic assumption on which the Amended
         LLC Agreement was made and that the mistake had a material effect on the agreed-upon exchange
         of performances.
Proof of Claim Disallowance Order, 33-34.
57
   See Proof of Claim Disallowance Order, 32-33 n. 120 (where the court found that “HCRE has not shown that there
was a lack or failure of consideration on behalf of Highland in connection with the Amended LLC Agreement. . . .
Under Delaware law, the courts ‘limit [their] inquiry into consideration to its existence and not whether it is fair or
adequate,’ . . . . ‘[E]ven if the consideration exchanged is grossly unequal or of dubious value, the parties to a contract
are free to make their bargain.’ (citations omitted). Here, it is undisputed that Highland made a cash capital
contribution of $49,000, that Highland was a jointly and severally liable coborrower under the KeyBank Loan, and
that SE Multifamily (and HCRE), having no employees of their own, relied on Highland’s employees to conduct
business. Thus, HCRE’s claim, to the extent it is based on alleged lack and/or failure of consideration fails.”).

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           that are known to you, then you make amendments to reflect the contributions of
           those partners, whether monetary or otherwise . . . [a]nd my understanding is I can’t
           do that right now.” 58

McGraner testified that “despite Mr. Dondero being in control of both HCRE and Highland prior

to the bankruptcy filing, and despite ‘all of the fears [he] had [related to Highland’s bankruptcy

filing],’ HCRE made no effort to amend the agreement before the bankruptcy or post-bankruptcy

(because ‘we didn’t think it would be worth it’)[ ] 59 [and] ‘because [it] hoped that the issues that

caused the bankruptcy filing would resolve themselves.’” 60 This is not a good-faith basis for filing

and prosecuting the Proof of Claim, and it exhibits a willful abuse of the bankruptcy claims process

by NexPoint/HCRE.

           In summary, the admissions by Dondero and McGraner in their Trial testimony made clear

that NexPoint/HCRE never had a factual or legal basis for the Proof of Claim. NexPoint/HCRE’s

principals knew, at the time of filing and through its prosecution of the Proof of Claim, that there

was no factual basis for its claim of rescission, reformation, and/or modification of the Amended

LLC Agreement to dispossess Highland of some or all of its 46.06% membership interest in SE

Multifamily. This clearly and convincingly constitutes bad faith by NexPoint/HCRE and a willful

abuse of the judicial process.

           C. Reimbursement of Attorneys’ Fees and Costs Incurred by Highland in the Proof of
              Claim Litigation Is an Appropriate Sanction for NexPoint/HCRE’s Bad Faith

           Having found and concluded by clear and convincing evidence that NexPoint/HCRE filed

and prosecuted (and attempted withdrawal of) its Proof of Claim in bad faith and willfully abused

the judicial process, this court may use its inherent powers under Bankruptcy Code section 105(a)



58
     Proof of Claim Disallowance Order, 27 (citing Trial Tr. 114:24-115:16, 118:6-15).
59
     Id. (citing Trial Tr. 121:24-122:9).
60
     Id. at 28 (citing Trial Tr. 122:20-125:21).

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to sanction it for such conduct. Reimbursement of the opposing party’s fees and costs incurred in

responding to a bad faith filing or willful abuse of the judicial process has been upheld as an

appropriate form of sanctions. See Cleveland Imaging, 26 F.4th at 294 (upholding the bankruptcy

court’s sanction order that required the parties who were found to have filed bankruptcy petitions

in bad faith to reimburse the fees incurred by a post-confirmation litigation trust in responding to

the bad faith filing); Carroll v. Abide (In re Carroll), 850 F.3d 811 (5th Cir. 2017) (bankruptcy

court did not abuse its discretion in ordering the debtors to “pay $49,432, which represents the

amount of attorneys’ fees incurred by [the bankruptcy trustee] in responding to certain instances

of the [debtors’] bad faith conduct.”); In re Yorkshire, LLC, 540 F.3d 328, 332 (5th Cir. 2008)

(affirming bankruptcy court’s use of its inherent powers to issue monetary sanctions for bad faith

filing that were, in part, based upon the opposing parties’ attorneys’ fees and costs “following an

extensive hearing in which the bankruptcy court heard testimony from the parties and witnesses

and made certain credibility determinations,” and “made specific findings that Appellants acted in

bad faith.”); In re Paige, 365 B.R. 632, 637-399 (Bankr. N.D. Tex. 2007) (awarding attorneys’

fees against debtor for their “bad faith” conduct during bankruptcy case, noting “[t]he sanction

here is derived from the Court's inherent power to sanction” under section 105(a)); In re Lopez,

576 B.R. 84, 93 (S.D. Tex. 2017) (same). Any sanction imposed pursuant to a bankruptcy court’s

inherent powers for bad faith conduct or willful abuse of the judicial process “must be

compensatory rather than punitive in nature.” In re Lopez, 576 B.R. at 93 (quoting Goodyear Tire

& Rubber Co. v. Haeger, 581 U.S. 101, 108 (2017) (citing Mine Workers v. Bagwell, 512 U.S.

821, 826-30 (1994)). “[A] sanction counts as compensatory only if it is ‘calibrate[d] to [the]

damages caused by’ the bad-faith acts on which it is based[,]” and “[a] fee award is so calibrated

if it covers the legal bills that the litigation abuse occasioned.” Goodyear Tire & Rubber, 581 U.S.



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at 108 (quoting Bagwell, 512 U.S. at 834). The fee award must be “limited to the fees the innocent

party incurred solely because of the misconduct—or put another way, to the fees that party would

not have incurred but for the bad faith.” Id. (quoting Goodyear Tire & Rubber Co. v. Haeger, 581

U.S. at 104). The “‘causal link’ between the sanctionable conduct and the opposing party’s

attorney’s fees” must be established “through a ‘but-for test:’ to wit, the complaining party may

only recover the portion of fees that they would not have paid ‘but-for’ the sanctionable conduct.”

Id. (citing Goodyear Tire & Rubber, 581 U.S. at 108-109 (citing Fox v. Vice, 563 U.S. 826, 836

(2011)).

            Here, as earlier noted, Highland has requested, as a sanction, reimbursement of its

attorneys’ fees and costs incurred by it in responding to NexPoint/HCRE’s filing and prosecution

of its Proof of Claim. Specifically, Highland seeks reimbursement of an aggregate amount of

$825,940.55, consisting of

                •    $782,476.50 in attorneys’ fees charged by its primary bankruptcy counsel, PSZJ,
                     for the period August 1, 2021 through December 31, 2022, for work performed in
                     connection with the litigation of the Proof of Claim; 61

                •    $16,164.05 in third-party expenses for court reporting services provided in
                     connection with the Proof of Claim litigation; 62 and,




61
   See Morris Declaration, 3-4, at ¶¶ 8-13, and Ex. F. As stated in the Morris Declaration, the $782,476.50 amount
does not include any fees relating to the Disqualification Motion or any fees that PSZJ concluded were inadvertently
coded by a timekeeper to the NexPoint/HCRE Claim Objection category “or that were otherwise unrelated to services
rendered in connection with the Proof of Claim litigation.” Id., 3-4, at ¶¶ 11 and 12. By way of specific example,
Morris stated that “in 2022 and 2023 we charged Highland for services rendered in connection with our unsuccessful
attempts to obtain SE Multifamily’s books and records but excluded those charges here because they do not directly
relate to the litigation of HCRE’s Proof of Claim; Highland is seeking those fees in the Delaware Chancery Court
where Highland was forced to commence an action against HCRE for specific performance (Case No. 2023-0493-
LM)).” Id., 4, at ¶ 12.
62
     See id., 4, at ¶ 14, and Ex. G.

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               •    $27,300.00 in attorneys’ fees charged by David Agler for providing Highland with
                    specialized tax advice concerning SE Multifamily and other matters related to the
                    Proof of Claim. 63


           NexPoint/HCRE challenges Highland’s request for reimbursement of its fees on several

bases. First, it argues that it cannot be ordered to reimburse the fees and expenses incurred by

Highland after NexPoint/HCRE attempted to withdraw its Proof of Claim because they do not

satisfy the “but for” test for establishing a “causal link” between those fees and costs and

NexPoint/HCRE’s filing and pursuit of its Proof of Claim—that Highland cannot show that “but

for” NexPoint/HCRE’s filing and prosecution of its Proof of Claim, Highland would not have

incurred those fees and costs. NexPoint/HCRE urges the court to adopt its narrative of the

proceedings that “instead of taking a win, [Highland] and its lawyers chose to generate fees to get

the same result” and thus Highland’s attorneys’ efforts were “totally unnecessary” and a “waste of

time and resources” that was “the fault of [Highland], not [NexPoint/HCRE].” 64 NexPoint/HCRE

states in its Response that “[h]ere, it is undisputed that, had [Highland] agreed to the withdrawal

of the Proof of Claim many months ago – before engaging in costly additional discovery and

preparing for and attending a trial on the merits of the claim – [Highland] would have been exactly

in the same position that it is in now, but at far less expense” and further that “[t]he real, practical

difference between refusing to consent to the withdrawal of [NexPoint/HCRE]’s Proof of Claim

and instead prosecuting the Objection to its end is several hundred thousand dollars in attorneys’

fees” and, thus, “[t]he Motion abjectly fails any ‘but–for’ analysis.” 65




63
   See id., 4-5, at ¶¶ 15 and 16, and Ex. H. A summary of the aggregate fees and expenses of which Highland is
seeking reimbursement in the Sanctions Motion is attached as Exhibit I to the Morris Declaration. See id., 5, at ¶ 17,
and Ex. I.
64
     Response, 2.
65
     Response, 20, at ¶60 (emphasis added).

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           The court disagrees with NexPoint/HCRE’s “narrative” and its view of the evidence

established at Trial. Highland does dispute NexPoint/HCRE’s contention that, if only it had

allowed it to withdraw its Proof of Claim and accepted a “win,” that Highland would have been

“exactly in the same position that it is in now [after a Trial and ruling on the merits of the Proof of

Claim], but at far less expense.”               The court does as well.   As Highland has argued,

NexPoint/HCRE’s Motion to Withdraw was itself filed in bad faith. Highland was forced to

oppose the withdrawal of the Proof of Claim because NexPoint/HCRE would not agree to a

withdrawal, with prejudice, to NexPoint/HCRE’s right to challenge Highland’s title to its 46.06%

membership interest in SE Multifamily in the future. 66 The evidence clearly and convincingly

established that any “win” or “victory” that Highland would have obtained through the withdrawal

of the Proof of Claim 67

           would have been pyrrhic because HCRE—in a clear act of bad faith—tried to
           withdraw its Proof of Claim while preserving the substance of it claims for
           another day. Had HCRE’s duplicitous strategy been successful, Highland’s interest
           in SE Multifamily would have remained subject to challenge—an untenable result
           for anyone, let alone a post-confirmation entity seeking to implement a court-
           approved asset monetization plan.

           The court finds and concludes, as argued by Highland, that there is clear and convincing

evidence here that the fees and costs incurred by it, after NexPoint/HCRE sought to withdraw its

Proof of Claim (i.e., to prepare for the Trial and prosecute its objection to the Proof of Claim

through a trial and ruling on the merits), would not have been incurred “but for” NexPoint/HCRE’s

bad faith. As pointed out by Highland and as noted above, 68 the court did not enter the Proof of

Claim Disallowance Order in December 2022 in a vacuum. Rather, the court denied



66
     See supra note 45 and accompanying text.
67
     Response, 5, at ¶18.
68
     See supra at pages 16-17.

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NexPoint/HCRE’s Motion to Withdraw only after: (1) the court had expressed concerns that the

timing and context of its filing of its Motion to Withdraw suggested gamesmanship on its part, and

that the integrity of the bankruptcy system and claims process would be in jeopardy if the court

were to simply allow withdrawal, without protecting Highland from future challenges to its

membership interest in SE Multifamily (particularly, after Highland had spent hundreds of

thousands of dollars to that point in objecting to the Proof of Claim); and (2) NexPoint/HCRE

refused to agree to language in an order that would alleviate these expressed concerns. The court—

having now made an express finding that NexPoint/HCRE’s filing of its Motion to Withdraw was

in bad faith and part of its willful abuse of the bankruptcy claims process that began with the filing

of its Proof of Claim in April 2020—now expressly finds that the fees and costs incurred by

Highland after NexPoint/HCRE filed its Motion to Withdraw were necessary for Highland to

protect its interests and would not have been incurred “but for” NexPoint/HCRE’s bad faith

conduct and willful abuse of the judicial process.

           Second, NexPoint/HCRE objects to Highland’s fees ($809,776.50) and expenses

($16,164.05) as being “per se excessive for a single proof of claim objection.” 69 Highland argues

that “[s]pending less than 5% of the value of an asset (according to Mr. Dondero’s family trust) to

obtain good, clear title is economically rational and consistent with the Claimant Trust’s duty to

maximize value for the benefit of the Claimant Trust’s beneficiaries.” Per the Morris Declaration,

Highland only seeks reimbursement of expenses and fees charged to Highland for expenses

incurred and work performed in litigating the Proof of Claim (but—as noted earlier—specifically

excluding any fees charged relating to the Disqualification Motion). The court agrees with

Highland and finds that the fees and expenses incurred by it in objecting to the Proof of Claim,


69
     Response, 10, ¶34.

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including the fees incurred after NexPoint/HCRE sought to withdraw its Proof of Claim, were

reasonable and necessary for Highland to protect a valuable asset—it’s 46.06% interest in SE

Multifamily—and, thus, they are not excessive.

           Third, NexPoint/HCRE complains, in its Response, that the fees charged by PSZJ were

unreasonable and excessive because the PSZJ invoices show that it was seeking reimbursement

for fees charged by “layers of timekeepers whose identities and roles have not been disclosed.” 70

NexPoint/HCRE points out three professionals (two of whom billed one hour or less) who were

identified in PSZJ’s invoices only by their initials. 71 In its Reply, Highland identified the

timekeepers by name—as a litigator who billed one hour of time; a bankruptcy attorney who billed

0.6 hours of time; and a bankruptcy partner who billed 15.1 hours of time—all of whom were

“called upon to provide discrete support.” 72 Collectively, the three previously “unidentified”

attorneys charged just 0.023% of the total fee request. 73 PSZJ’s identification of the “unidentified

timekeepers” and explanation of the work performed by them satisfies the court that these fees

were reasonable and necessary fees incurred as a direct result of NexPoint/HCRE’s bad faith filing

and prosecution of its Proof of Claim. The court rejects NexPoint/HCRE’s suggestion that PSZJ

overstaffed and overbilled the file because there were “layers of timekeepers.” As pointed out in

Highland’s Reply, “over 82% of the charges related to one litigation partner . . . , one litigation

associate . . . , and one paralegal” and “[t]wo other lawyers who have been on the Pachulski team

since the inception of this engagement . . . billed relatively modest amounts of time over the course




70
     Id., 13, ¶45.
71
     Id., 12, ¶38.
72
     Reply, 9, ¶28.
73
     Id.

                                                 29
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of this prolonged litigation.” 74 There is simply no factual basis to support a conclusion that the

matter was overstaffed.

            Fourth, NexPoint/HCRE objects to $9,840 charged by two attorneys for travel time, 75

while acknowledging that those attorneys’ non-working travel time was billed at half of the

attorneys’ regular hourly rate. 76 As pointed out by Highland in its Reply, Highland agreed to pay

for travel time in its pre-petition engagement letter, so those “charges cannot come as a surprise to

Mr. Dondero.” 77 The court takes judicial notice of the fact that attorneys charging half of their

hourly rates for non-working travel time, as PSZJ did here, pursuant to its engagement letter with

Highland that was approved when the court authorized the retention of PSZJ as counsel for the

Debtor, is common practice and is a commonly approved term of engagement of professionals in

bankruptcy cases. The $9,840 charged by two attorneys for travel time in this matter was a

reasonable and necessary expense incurred by Highland in responding to NexPoint/HCRE’s bad

faith filing and prosecution of its Proof of Claim.

            Fifth, and finally, NexPoint/HCRE objects to the fees charged by David Agler (39 hours

of work performed at $700 per hour) for providing Highland with tax advice in August 2022, on

the basis that the invoice attached as Exhibit H to the Morris Declaration “indicated that it was

‘unbilled’ work” and that “[w]hatever work he did, it did not manifest itself in the proceedings.” 78

Highland pointed out that it had explained, in the Morris Declaration, that Mr. Agler provided

“specialized tax advice concerning SE Multifamily and other matters related to the Proof of




74
     Id., 9, ¶28 n. 5.
75
     Response, 12, ¶37.
76
     Id., 11, ¶36 (Table 1).
77
     Reply, 9-10, ¶29.
78
     Response, 12, ¶42.

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Claim.” 79 Highland provided a more detailed description of the services provided by Mr. Agler

and why those services were necessary in its Reply: “Mr. Agler provided his services in August

2022 in conjunction with Highlands’s deposition preparation, including the deposition of SE

Multifamily’s accountant. These services were necessary because—as Mr. Dondero and Mr.

McGraner admitted and as the evidence showed—Highland’s participation in SE Multifamily was

expected to provide substantial tax benefits.” 80 The court finds that the fees charged by David

Agler for work performed for Highland that are set forth in Exhibit H to the Morris Declaration

were reasonable and necessary expenses incurred by Highland in responding to HCRE’s bad faith

conduct and that they would not have been incurred “but for” NexPoint/HCRE’s bad faith conduct

and willful abuse of the judicial process.

           The court has determined that the full amount of fees – $809,776.50 – and costs –

$16,164.05 – that are set forth in detail in Exhibits F through H (and summarized on Exhibit I) of

the Morris Declaration were reasonable and necessary for Highland to respond to, and would not

have been incurred “but for,” NexPoint/HCRE’s bad faith filing and prosecution of its Proof of

Claim, which the court has found to have been a willful abuse by NexPoit/HCRE of the judicial

process. Under Fifth Circuit precedent, it is appropriate for the court, in the use of its inherent

power under Bankruptcy Code § 105(a), to order NexPoint/HCRE, as a compensatory sanction for

its bad faith conduct and willful abuse of the judicial process, to reimburse Highland the full

amount of fees and costs requested by Highland, which, in the aggregate, total $825,940.55.

NexPoint/HCRE’s objections to such amounts as excessive, unnecessary, unreasonable, or

unrelated to NexPoint/HCRE’s bad faith conduct, are overruled.


79
     Reply, 10, ¶30 (citing Morris Declaration, ¶15).
80
    See id. (citing Morris Declaration, Ex. [E] (Trial Transcript) 43:2-14; 83:17-84:2; 191:23-193:21 (citing to
testimony and tax returns that were admitted into evidence)).

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                               V.      CONCLUSION AND ORDER

       In summary, the court has determined that NexPoint/HCRE was given adequate notice and

an opportunity to respond to the Sanctions Motion and that there is clear and convincing evidence

that it filed and prosecuted its Proof of Claim, including its eleventh-hour attempt to withdraw its

Proof of Claim, in bad faith and that it willfully abused the judicial process. Such conduct directly

caused Highland to incur $825,940.55 in fees and expenses. In the exercise of its inherent power

under Bankruptcy Code § 105(a), the court will grant Highland’s Sanctions Motion and order

NexPoint/HCRE to reimburse Highland for those fees and expenses as an appropriate sanction for

NexPoint/HCRE’s bad faith or willful abuse of the judicial process.

       Accordingly, and based on the foregoing findings of fact and conclusions of law, including

those findings and conclusions in this court’s Proof of Claim Disallowance Order, which has been

incorporated herein by reference,

       IT IS ORDERED that the Sanctions Motion [Dkt. No. 3851] be, and hereby is

GRANTED;

       IT IS FURTHER ORDERED that, in order to compensate Highland for loss and expense

resulting from NexPoint/HCRE’s bad faith and willful abuse of the judicial process, in filing and

prosecuting its Proof of Claim, NexPoint/HCRE is hereby directed to pay Highland the

compensatory sum of $825,940.55.

                       ###End of Memorandum Opinion and Order###




                                                 32
